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EXHIBIT 404




                                        ATTACHMENT B
                                  Particular Things to be Seized

     I.       Information to be disclosed by Yahoo! Inc.
         To the exlent that the information describecl in Attachment A is within the possession,
 custody, or control of Yahoo! Inc., including any e-mails, records, fì1es, Iogs, or information that
 have been deleted but are stili availabie to Yahool Inc., or have been pleserved pursuant to a
 request made u¡der l8 U,S,C, ç 2703(Ð, Yahoo! Inc. is required to disciose the following
 information to the government for each account or identifier listed in Attachment A:
         a. The contents of all e-mails associated with the account, includilg stored or
 preserved copies of e-mails sent to and from the account, draft e-mails, the source and
 destination addresses associated with each e-mail, the date and time at which each e-mail was
 sent, and the size and length of each e-mail;
         b. All records or other information regarding the identification of the account, to
 include full narne, physical address, telephone nurnbers and other identifiers, records of session
 times and durations, the date on which the account was created, the length of service, the fypes of
 service utllized, the IP address used to register the account, log-in IP addresses associated with
 session times and dates, account status, alternative e-mail addlesses provided during registration,
 methods of connecting, loB f,rles, and means and soruce of paynrent (including any credit or ba¡k
 account number);
          c.    All records or other information stored at any tirne by an indìviduai using the
 account, including address books, contact and buddy lists, calendar dala,pictures, and files;
          d.    All records pertaining to communications between Yahoo! Inc, a¡d any person
 regarding the account, including contacts with support services and records of actions taken.

    II.     Informaúion to be seized by the government
          a,      All in-formation described above in Section I that constitutes fruits, evidence and
instrumentalities of violations of Title 1 I USC ç2252 (a), certain activities relating to material
ilvolving the sexual exploitation of minors, including, for each account or identifier listed on
Attachment A, information peflaining to the following matters:
        data tending to show the user of the account, including but not limited to
        subscriber information, IP logs, address books, friend-lists or buddyJists, headets,
        salutations, and email content referencing the user or other identifier information
        such as credit ca¡d numbers, phone numbers or physical addresses; content that is
        child pornography or indicative of an interest in the sexual exploitation of
        clúldren, including but not limited to images of child pomography, images of
        child erotica, communications about child pornography or the possession, receipt,
        distribution or production of such materiais or the sexual exploitation of children,
        communications about literature or writings lelated to the sexual exploitation of
         chíldren,
          b,     Records relating to who created, used, or comrnunicaied with the aocount or
identifier, including r-ecords about their identities and whereabouts,
